                 Case 1:24-cv-01844-TNM                    Document 25-10         Filed 02/03/25          Page 1 of 2

$2 5HY'& 6XPPRQVLQD&LYLO$FWLRQ


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                                                                   IRUWKH
                                                           District of Columbia
                                                     BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                 Abigail Carmichael Jordan




                            3ODLQWLII V
                                 Y                                          &LYLO$FWLRQ1R 1:24-cv-01844-TNM
        Marco Rubio, in his official capacity as U.S.
                Secretary of State, et al.


                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV Office of the Attorney General of Virginia
                                          202 North Ninth Street
                                          Richmond, VA 23219




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3 D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH Robert A. Batista
                                          Gibson, Dunn & Crutcher LLP
                                          1700 M Street, N.W.
                                          Washington, D.C. 20036-4504
                                          Counsel for Plaintiff Abigail Carmichael Jordan
                                          RBatista@gibsondunn.com

       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



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'DWH
                                                                                            6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                  Case 1:24-cv-01844-TNM                     Document 25-10          Filed 02/03/25              Page 2 of 2

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R 1:24-cv-01844-TNM

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
 ZDVUHFHLYHGE\PHRQ GDWH                                           

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW SODFH
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           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                         ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
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           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                RU

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           0\IHHVDUH                            IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI           0.00          


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
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                                                                                            3ULQWHGQDPHDQGWLWOH




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